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                                                                FILED: October 31, 2023

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 23-2099
                                       (1:22-cv-03185-JRR)
                                      ___________________

        FRANCES CURD, individually and on behalf of all others similarly situated

                     Plaintiff - Appellant

        v.

        PAPA JOHN'S INTERNATIONAL, INC., d/b/a Papa Johns

                     Defendant - Appellee

                                      ___________________

                                           ORDER
                                      ___________________

              Upon consideration of the motion to voluntarily dismiss this case pursuant to

        Rule 42(b) of the Federal Rules of Appellate Procedure, and there appearing no

        opposition, the court grants the motion.

                                               For the Court--By Direction

                                               /s/ Nwamaka Anowi, Clerk
